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      IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

            MIDDLE DISTRICT OF ALABAMA, EASTERN DIVISION




UNITED STATES OF AMERICA              )
                                      )
       v.                             )   CRIM. ACTION NO.
                                      )    3:94cr25-T
JAMES LEE TRAMMELL, JR.               )        (WO)




                                   ORDER

       In 1994, defendant James Lee Trammell, Jr. was convicted

and sentenced for drug trafficking and conspiracy, as well

as    several    firearms     charges.       His    sentences     for   the

trafficking and conspiracy counts were later vacated on a

§ 2255 motion.          Trammell is now due to be resentenced.

Before the court are several disputed Sentencing Guidelines

issues that must be resolved prior to resentencing.
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                           I. Background 1

      On February 24, 1994, Trammell and 14 co-defendants were

charged with violations of the Controlled Substances Act in

a 28-count superceding indictment.          Count 1 charged Trammell

and his co-defendants with conspiracy to distribute and

possess with intent to distribute cocaine base; counts 2

through    27   charged   various   firearm    violations     and   drug

trafficking offenses; and count 28 sought the forfeiture of

interest in certain real and personal property.             The counts

specific to Trammell are as follows.             Counts 2 through 4

charged Trammell with various firearms offenses; count 18

charged     Trammell      with    knowingly      and    intentionally

distributing 4.544 grams of cocaine base on July 20, 1993;

and    count    24   charged     Trammell     with     knowingly     and


      1.   In 2000, this court resentenced several of
Trammell’s co-defendants, Nelson Nikitha Fears, Morris
Ramsey, Ossie Orlando McCauley III, and JaJa Zambrowski
Davis. Thus, the court will rely heavily on its previously-
issued order (Doc. No. 815) for the purposes of recounting
background information about the offenses.        For later
history of this case, see United States v. McCauley, 2001 WL
34075508 (M.D. Ala. 2001), aff’d, United States v. Davis,
329 F.3d 1250 (11th Cir.), cert. denied, 540 U.S. 925, 124
S.Ct. 330 (2003).

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intentionally distributing 4.712 grams of cocaine base on

September 22, 1993.

    The charges stemmed from drug-distribution activities in

West Shawmut, a small, densely populated community located

in the southwest part of Lanett, Alabama.           During the period

of the conspiracy, the defendants conducted an open-air drug

market in two West Shawmut areas called the “Hole” and the

“Dope Zone.”

    Law   enforcement     personnel,      with   the   assistance        of

confidential informants, made controlled buys of crack from

drug traffickers in the West Shawmut community.                Three or

more confidential informants assisted law enforcement in

making the controlled buys.            Together, they assisted in

making approximately 16 controlled buys over approximately

six months.

    The evidence at trial demonstrated a loosely formed

hierarchical conspiracy. Level-one “runners” were typically

crack cocaine addicts who sold $20 rocks on the streets or

took customers who wanted to make             purchases for larger



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amounts to level-two dealers.          Runners were typically paid

with crack or small amounts of money for their efforts.

Level-two,    or    mid-level,   dealers    sold    one-eighth,     one-

quarter,    and    one-half   ounces   of   crack   cocaine.        They

employed these runners and also supplied the runners with

small quantities of crack cocaine to sell.            These level-two

dealers relied upon level-three dealers--those who sold a

minimum quantity of an ounce (roughly 28 grams) of crack or

more--for their supply of crack.

    The government’s theory of the case at trial was that

Trammell was at least a level-three dealer who dealt only in

larger amounts from his residence.          During the government’s

case-in-chief,       confidential      informant      Nichael      Welch

testified that he purchased crack            from Trammell at his

residence on       two occasions, in amounts that were later

determined to be 4.544 and 4.712 grams.2                In   addition,

evidence was presented indicating that a search warrant was

conducted on Trammell’s home on January 28, 1994, producing,



    2.     Trial transcript of April 5, 1994, pp. 23, 100-101.

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among other things, ammunition, a set of electronic scales,

and a hard off-white rock substance.3

       Trammell was convicted of conspiracy (Count 1), the

weapons charges (Counts 2, 3, and 4) and one of the two

distribution charges (Count 24).           He was acquitted on the

other distribution charge (Count 18).

       On June 23, 1994, United States District Judge Robert E.

Varner found that Trammell was accountable for at least 500

grams but less than 1.5 kilograms of cocaine base, but did

not base this decision on any individualized findings.4                  He

then    sentenced   Trammell     to    a   mandatory   term    of   life




       3.Trial transcript of March 31, 1994, pp. 100-102.
However, despite testimony at trial that drugs were found
during the search of Trammell’s home, neither the drugs
themselves, nor any information about the drugs, were ever
introduced into evidence at trial. Courtroom deputy minutes
(Doc. No. 398), exhibit list.

       4.In determining the drug quantity attributable to
Trammell, the court simply stated, “I have already
announced, I think, that I think it’s reasonable to assume
or to decide by a preponderance of the evidence that because
they were conspirators that the amount involved was at least
one hundred and fifty grams and not more than five hundred.”
Sentencing transcript, June 23, 1994, p. 7.

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imprisonment on the conspiracy count (Count 1),5 a term of

293 months’ imprisonment on the drug distribution conviction

(Count 24), and terms of 60 months’ imprisonment for each of

the    gun-possession      offenses      (Counts     2-4),     to    run

concurrently.

      After the Eleventh Circuit affirmed his convictions and

sentences, United States v. Trammell, 107 F.3d 23 (11th Cir.

1997), and after the case was reassigned from Judge Varner

to the undersigned, Trammell filed a petition pursuant to 28

U.S.C.A. § 2255 on May 29, 2001, alleging, among other

things, that his counsel was ineffective for failing to

challenge on appeal the quantity of cocaine attributable to

him for sentencing purposes, and for failing to challenge

the timeliness of the government’s notice of its intent to

rely upon prior felony drug convictions for enhancement




      5. Judge Varner concluded that a life sentence was
mandatory on the conspiracy count pursuant to 21 U.S.C.A.
§ 841(b)(1)(A) because the conspiracy involved at least 50
grams of cocaine base and because Trammell had two prior
felony drug convictions.

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purposes.6    The magistrate judge agreed with both of those

arguments and recommended that the district court vacate

Trammell’s sentences on the conspiracy and distribution

counts (Counts 1 and 24).          This court then issued an opinion

adopting the report and recommendation.7

    At Trammell’s resentencing hearing on January 31, 2005,

this court identified four            factual and legal issues in

dispute that must be resolved before he can be resentenced:

(1) the quantity of drugs attributable                  to Trammell for

sentencing purposes; (2) whether Trammell is subject to a

two-level     firearm    enhancement           pursuant     to     U.S.S.G.

§ 2D1.1(b)(1);8 (3) whether Trammell is subject to a three-


    6.       Judge   Varner   is    now   on   senior     status   and   is
disabled.

    7.    United States v. Trammell, civil action no.,
3:01cv658-T (Doc. No. 49). The court did not vacate the 60-
month sentences imposed for each of Trammell’s three gun-
possession   offenses;   thus,   these   sentences   remain
undisturbed upon resentencing.

    8.   In his § 2255 petition, Trammell argued that his
counsel was ineffective for failing to challenge the trial
court’s application of the two-level enhancement of his base
offense level for co-conspirator possession of a firearm.
                                              (continued...)

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level ‘supervisory role’ enhancement pursuant to U.S.S.G.

§ 3B1.1(b);9 and (4) whether the sentences imposed should run

consecutively or concurrently.10




    8.   (...continued)
That argument was rejected by both the magistrate judge and
this court. See United States v. Trammell, civil action no.
3:01cv658-T (Doc. No. 47), pp. 10-13. However, Trammell’s
sentences for drug conspiracy and distribution have been
vacated in their entirety and must be re-calculated anew.
Trammell objects to the application of the firearm
enhancement in the re-calculation of his sentence.
Therefore, the court must again address the application of
the enhancement.

    9.   The government is arguing for the first time that
this enhancement applies. The fact that the government did
not make this argument at Trammell’s original sentencing
does not preclude it from making it here. When a criminal
sentence is vacated, it becomes void in its entirety and the
slate is wiped clean.    United States v. Stinson, 97 F.3d
466, 469 (11th Cir. 1996).    Thus, the court may approach
Trammell’s re-sentencing as if it were sentencing him for
the first time.

    10.   The court also notes that the government concedes
that the notice of its intent to seek a sentencing
enhancement based on Trammell’s prior felony convictions
pursuant to 21 U.S.C.A. § 851(a)(1) was untimely and was
therefore applied in error. The government further concedes
that the sentencing enhancement should not be used in re-
calculating Trammell’s sentence.      Brief in Support of
Government’s Position Regarding Resentencing (Doc. No. 979),
p. 7.

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    At that same hearing, the court heard testimony from

Stanley Quincey Johnson, a co-defendant of Trammell’s who

later received a drastically reduced sentence in exchange

for cooperating with the government.              The court also heard

the testimony of Robert Chambers of the Alabama Alcoholic

Beverage Control Board and Michael Dixon of                  the Alabama

Bureau of Alcohol, Tobacco and Firearms, both of whom were

involved in the investigation of the West Shawmut drug

conspiracy.

    The   court         has   considered    the   testimony     of    these

witnesses,    as    well      as   both    parties’   briefs    and    oral

arguments.         In    addition,   it    has    reviewed    the    trial,

sentencing and re-sentencing transcripts for Trammell.                 Upon

evaluation of these materials, the                court now makes the

following findings.




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                            II. Findings

                        A. Drug Quantity 11

       Calculating the base      offense level for a defendant

convicted of drug conspiracy and distribution requires an

assessment of the quantity of illegal drugs attributable to

that defendant.12      U.S.S.G. § 2D1.1(a)(3) &           (c).        If in

dispute, the government bears the burden of proving the drug

quantity attributable to a defendant by a preponderance of

the evidence.      United States v. Rodriguez, 398 F.3d 1291,

1296    (11th   Cir.   2005).      Application     note    12    of    the

Commentary to U.S.S.G. § 2D1.1 states that “[w]here there is



       11 .This issue is legally identical to the drug-
quantity issue for the four co-defendants this court
resentenced in 2000. Therefore, the court will once again
rely heavily on its previous order in its explication of the
governing rules and standards with respect to drug quantity.


       12.
         Pursuant to U.S.S.G. § 3D1.2, “all counts involving
substantially the same harm shall be grouped together into
a single Group.”     Such is the case here with Counts 1
(conspiracy) and 24 (distribution). Thus, the court need
only determine one drug quantity amount attributable to
Trammell for the purpose of calculating his sentences under
the Guidelines for both the distribution and conspiracy
counts.

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no drug seizure or the amount seized does not reflect the

scale      of    the    offense,         the    court    shall      approximate   the

quantity of the controlled substance.”                           In addition, the

application            note   expressly             notes    that     “[t]ypes    and

quantities of drugs not specified in the count of conviction

may be considered in determining the offense level,” and

refers the reader to U.S.S.G. § 1B1.3, the provision of the

Guidelines addressing “Relevant Conduct.”

       Section 1B1.3 provides that a defendant’s base offense

level accounts for “all acts and omissions committed, aided,

abetted,         counseled         ...     or       willfully    caused     by    the

defendant,” as well as, “in the case of a jointly undertaken

criminal activity, ... all reasonably foreseeable acts and

omissions of others in furtherance of the jointly undertaken

criminal activity” that occurred “during the commission of

the offense of conviction, in preparation for that offense,

or    in   the    course      of    attempting          to   avoid    detection   or

responsibility for that offense.” U.S.S.G. § 1B1.3(a)(1)(A)

& (B).



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       Complementing         subsection     1B1.3(a)(1)     is   subsection

1B1.3(a)(2), which specifically refers to offenses like

Trammell’s convictions for drug conspiracy and distribution,

which are grouped pursuant to U.S.S.G. § 3D1.2(d) for the

purpose of determining a single base offense level.                    This

subsection reinforces that the base offense level for such

counts must include consideration of “all acts or omissions

... that were part of the same course of conduct or common

scheme or plan as the offense of conviction.”                       U.S.S.G.

§ 1B1.3(a)(2).

       Application note 2 of the Commentary to § 1B1.3 provides

that      in   order     to     determine    the    quantity     of    drugs

attributable       to    a    particular     defendant    involved     in    a

conspiracy, a district court must                  engage in a two-step

process.       The court “must first determine the scope of the

criminal activity the particular defendant agreed to jointly

undertake.”       U.S.S.G. § 1B1.3, n. 2; see also United States

v.     Ismond,     993       F.2d   1498,   1499    (11th    Cir.     1993).

Application note 2 specifies that the scope of this activity



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“is not necessarily the same as the scope of the entire

conspiracy.”    Id.      Second, once the extent of a defendant’s

participation in the conspiracy is established, “the court

can determine the drug quantities reasonably foreseeable in

connection with that level of participation.”                    993 F.2d at

1499.

    Thus, in sum, the Guidelines require a district court to

“attribute to a defendant all drugs foreseeably distributed

pursuant   to   a    common    scheme      of    which    that   defendant’s

offense of conviction was a part.”               United States v. Butler,

41 F.3d 1435, 1443 (11th Cir. 1995); see also United States

v. Andrews, 953 F.2d 1312, 1319 (11th Cir. 1992).                  This does

not mean, however, that a defendant will be responsible for

all of the drugs attributed to the entire conspiracy.



            i. Scope of Trammell’s participation

    For    several        reasons,         the    scope     of    Trammell’s

participation       in   the   West     Shawmut      drug    conspiracy   is




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exceedingly difficult for the court to determine based on

the evidence and testimony available.

      First, unlike the co-defendants in this case who were

previously resentenced by the court, very limited testimony

regarding Trammell’s precise role in the conspiracy was

presented at trial.         Although the government suggested in

its opening statement that Trammell ranked very highly in

the West Shawmut hierarchy, the evidence with respect to the

frequency    and   extent    of    his    actual   involvement   in   the

conspiracy was limited.13         In fact, the court could only find

two   references    to   specific        drug   transactions   involving


      13. In his opening statement, the Assistant United
States Attorney remarked,

            “And then you are going to hear about the
            level four guys that didn’t hang out.
            Individuals like Stan Quincey Johnson ...
            He didn’t sell small rocks of crack
            cocaine, he sold weight to level two and
            three guys so that they could go out and
            give the crack cocaine to the level one
            guys ... Johnson is not the only one who
            falls into level four ... Mr. Trammell
            didn’t hang out out there, he sold his
            dope knowing it was going to West Shawut.”

Trial transcript, March 28, 1994, pp. 22-23.

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Trammell       at   trial,    both   of    which    were   conducted   with

confidential informant Nichael Welch, and both of which

involved relatively modest amounts of crack cocaine.

        The first transaction took place on July 20, 1993.

Welch testified that he was instructed by agents to purchase

crack cocaine from Trammell and that he enlisted the help of

co-defendant Donald Lancaster, a level-one “runner,” to do

so.14    Welch’s testimony, as well as the transcript of the

tape recording of the incident, indicates that Lancaster

attempted      to   discourage       Welch   from    buying   crack    from

Trammell, and instead suggested that Welch make a purchase

from co-defendant JaJa Davis.15 Welch testified that despite

Lancaster’s urging otherwise, the two of them initially went

to Trammell’s house, but he was not home.                   After driving

around for a while, Welch indicated that the pair later

returned to Trammell’s house for a second time and found

Trammell at home.            Welch further explained that Trammell



        14.   Trial transcript, April 5, 1994, p. 7.

        15.   Govt. Ex. 55-18-2, p. 1.

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told him, “when I come out there [to purchase drugs], [I

should] come by myself because Lancaster been wanting too

much [cocaine as payment for his services as a runner].”16

In    fact,    Welch     testified     that   although     he   purchased       a

quarter       of   an   ounce   of    crack   from   Trammell         that   day,

Trammell       refused    to    give   Lancaster     any   commission         for

bringing him Welch’s business.17

       Welch’s testimony about this incident suggests little

about the scope of Trammell’s involvement in the conspiracy.

At most, Welch’s testimony indicates that Trammell sold a

modest quantity of drugs from his home, 1 8 that he had a

contentious, on-and-off relationship with one of the level-

one     runners     involved     in    the    conspiracy,       and    that    he


       16.    Trial transcript, April 5, 1994, p. 23.

       17.Trial transcript, April 5, 1994, p. 24.     Lab
analysis results introduced at trial indicated that the
substance he purchased from Trammell weighed 4.544 grams.
Govt. Ex. 57-18-4.

       18.The government suggested that, as an upper-level
distributor, Trammell dealt only in quantities of an ounce
or more of crack cocaine. This transaction indicates that
in fact, he sold smaller quantities of crack directly to
customers.

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apparently preferred to bypass certain “runners” in the

conspiracy   so   as   to   avoid    paying   them   commission,      and

encouraged    customers     to   contact   him   directly    when   they

wished to purchase crack.        Welch’s testimony about the crack

purchase of July 20, 1993, provides no indication as to

which members of the conspiracy Trammell dealt with, how

frequently he sold or otherwise supplied crack, how often he

employed the services of the runners, or the extent to which

he knew about or agreed to be a part of the larger drug

conspiracy in the West Shawmut community.

    It appears from Welch’s testimony that he abided by

Trammell’s wishes and contacted Trammell directly when he

made his second        purchase of crack cocaine from him on

September 22, 1993.       Welch indicated at trial that the only

people present during that second transaction were himself,

a man named Henry, who was not charged as part of the

conspiracy, and Trammell.           On that occasion, according to




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Welch, he again purchased a “quarter” of an ounce of crack

cocaine from Trammell.19

    Welch’s second purchase             from Trammell is even less

telling with respect to the scope of Trammell’s involvement

in the conspiracy than his first.              Aside from “Henry,” a

person who has never been implicated in the                   conspiracy,

Welch was alone when he made the purchase from Trammell.

None of the other members of the conspiracy are mentioned

during    the   conversation     recorded      by    Welch    during      the

transaction.     Thus, the September 22, 1993, transaction is

equally unhelpful to the court in determining the scope of

Trammell’s involvement in the conspiracy.

    The    parties    have    directed     the      court    to    only   one

additional,     relevant     reference    to     Trammell     in    Welch’s

testimony.      Welch admitted on cross-examination that on

January 21 and 25, 1994, he approached Trammell, defendant

Algie Shealey, and defendant Johnson and told them that he


    19.   Id. at 101.   A lab report introduced at trial
containing an analysis of the substance purchased from
Trammell on September 22, 1993, established that the drugs
weighed 4.712 grams. Govt. Ex. 78-24-4.

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would soon bring them a large sum of money to buy two ounces

of crack cocaine.20        This reference is helpful to the court

to the extent that it associates Trammell with two of the

upper-level dealers in the conspiracy.             However, Welch did

not provide any further details regarding the nature of the

association      between    these    three   men   or   how   much   crack

cocaine each individual man agreed to supply.                    He also

admitted   that    although     it    was    discussed,   the   proposed

transaction never took place.21

    Other witnesses’ trial testimony is equally vague and

unhelpful with respect to Trammell’s role in the conspiracy.

For example, the testimony of cooperating co-conspirator

Eltin Billingsley, a level-one runner, contains just one

fleeting reference to Trammell.               When asked, “What, if

anything, did you see James Trammell do during the summer of

1993?,” Billingsley responded, “Nothing, really.                I used to

see James just riding through.               Just riding through the



    20.    Trial transcript, April 6, 1994, p. 222.

    21.    Id.

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neighborhood.     Just hanging out.”22         The most the court can

glean from this testimony is that, to the extent Trammell

employed level-one runners, he did not work directly with

Billingsley.

      Aside   from   the   testimony     at    trial,    the     government

presented     little    additional      testimony       and    evidence   at

Trammell’s resentencing hearing on January 31, 2005, that is

helpful to the court in determining the scope of Trammell’s

involvement in the conspiracy.

      The government’s chief witness against Trammell, co-

defendant     Johnson,     testified      that    Trammell        regularly

supplied him with drugs beginning in late 1989 or early

1990,   starting       approximately     one    year     after    Johnson’s

marriage in September 1988.23        He further testified that this

business arrangement ended after approximately 18 months,

when he and Trammell suffered a falling out due to a dispute




      22.   Trial transcript, April 7, 1994, p. 83.

      23.   Resentencing transcript, January 31, 2005, pp. 30,
34.

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involving      Trammell’s     girlfriend     and   Johnson’s      wife. 2 4

Regardless of whether Trammell began supplying drugs to

Johnson   in    late   1989   or   early   1990,   it   is    clear   from

Johnson’s testimony that their business relationship lasted

for a year and a half at most and therefore ended prior to

the start of the conspiracy, on or about January 1, 1992, as

alleged   in    the    superceding      indictment.25        Furthermore,

Johnson provided no indication that this arrangement was




    24.     Id. at 34.

    25.  The superceding indictment (Doc. No. 174A) alleges
that the conspiracy began on or about January 1, 1992 and
continued through February 4, 1994. It is well-settled that
when the government charges that an offense occurred “on or
about” a certain date, the defendant is on notice that the
charge is not limited to the specific date or dates set out
in the indictment, United States v. Creamer, 721 F.2d 342
(11th Cir. 1983); however, proof of a date reasonably near
the specified date is required. United States v. Champion,
813 F.2d 1154 (11th Cir. 1987).     Furthermore, at no time
during the trial did the government make any argument or
present any evidence indicating that the conspiracy actually
began two to three years earlier than the date alleged in
the superceding indictment.      Trammell therefore had no
opportunity to respond to that argument at trial, and the
government cannot now, eleven years after the trial, make
such an argument for the first time.

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anything more than a private agreement with Trammell or was

in any way linked to the broader conspiracy.

      The government did question Johnson about the hierarchy

of the West Shawmut conspiracy that arose after he and

Trammell had their falling out.                Johnson indicated that the

conspiracy consisted of a multi-level hierarchy consisting

of runners and dealers.            When asked who the runners got

drugs from, Johnson responded, “They come and get them from

the   dealer.”26      When   asked   who       those   dealers     were,    he

responded, “I was one         of     them. ... Mr. Trammell, JaJa

[Davis], and [Timothy] Walker.”                  He provided no further

specific     information       about       the      hierarchy      or    drug

distribution network in West Shawmut.

      He was then asked to describe what he observed about

Trammell’s activities in the neighborhood during the period

of the conspiracy itself, after the pair had their falling

out.27      Johnson    responded,         “I    seen   him   out    in     the



      26.   Resentencing transcript, January 31, 2005, p. 35.

      27.   Id. at 39.

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neighborhood, you know, passing by.”              Mr. Johnson was then

specifically asked, “In terms of the runners that were there

in Newts parking lot and over in the Hole, did you observe

Mr. Trammell use those runners to help him sell dope?”                    He

responded, “I would see one or two come to him down by the

house ... come down there and get some [crack] and run up

back up the road with it.”28

    At best, Johnson’s response indicates that Trammell was

a level-two dealer who supplied drugs to and employed the

services of runners.       However, Johnson’s testimony provides

the court with little detail about specific breadth and

nature of Trammell’s involvement so that “the court can

determine the drug quantities reasonably foreseeable in

connection    with    [Trammell’s]        level    of    participation.”

United States v. Ismond, 993 F.2d 1498, 1499 (11th Cir.

1993).

    In    other   words,   while    the    court    is   convinced   that

Trammell dealt drugs from his home with some regularity and



    28.    Id.

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was at least a tangential part of the West Shawmut drug

conspiracy, the court is unable to reach any additional,

specific conclusions with respect to the scope, including

the depth and breadth, of Trammell’s involvement in the

conspiracy itself.        No evidence was introduced indicating

when Trammell joined the conspiracy, how often he dealt with

other members of the conspiracy during the period of the

conspiracy,       or   how   frequently      he   engaged       in    drug

transactions.

      If anything, the testimony of the other defendants

involved in the conspiracy indicates that Trammell sometimes

kept his distance from other members of the conspiracy.

Although he was often seen out in the neighborhood, he

seemed to dislike dealing with runners, encouraging at least

one customer, Welch, to contact him directly to purchase

drugs.     Furthermore, he suffered a falling out with Johnson,

one   of    the   major   and   most    well-known    dealers    in    the

conspiracy, prior to the date the conspiracy commenced.




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    Finally, as noted above, the superceding indictment

alleges that the conspiracy began on or about January 1,

1992,    and   continued    through      February      4,    1994.29    The

Presentence Investigation Report             prepared by the United

States    Probation    Office     indicates      that       Trammell    was

incarcerated from April 6, 1992 through                April 7, 1993.30

Thus, Trammell was incarcerated for a full year in the

middle of the two-year conspiracy of which he was convicted.

Based on the scant evidence available, the court cannot

determine whether Trammell was a member of the conspiracy

before    he   went   to   prison,      or   whether    he     joined   the

conspiracy at some point after his release.

    In sum, after examining the evidence as a whole, the

court is persuaded that Trammell was at least a level-two

dealer who sold modest quantities of crack cocaine from his

home, and who occasionally used the services of runners and


    29.    Superceding indictment (Doc. No. 174A).

    30.  Presentence investigation report, ¶ 71 (indicating
that Trammell was convicted on drug conspiracy charges in
Chambers County, Alabama, and was sentenced to a term of
imprisonment of one year and one day on April 6, 1992).

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other members of the conspiracy.           In addition, the court’s

conservative estimate is that Trammell was a member of the

conspiracy for at least the last six months of its duration,

assuming he joined the conspiracy no later than July 20,

1993, the first date on which the evidence definitively

links   him   to   the   conspiracy      by   establishing     that       he

conducted a drug transaction.



          ii. Reasonably foreseeable drug quantities

    Because the court has only a limited understanding of

the scope of Trammell’s involvement in the conspiracy, it

cannot determine      with any certainty the amount of drugs

Trammell could “reasonably foresee” other members of the

conspiracy distributing.31       Where a drug amount is uncertain,

courts are urged “to err on the side of caution and only



    31.  This is especially true given that the court cannot
determine whether Trammell joined the conspiracy before or
after he went to prison. Application Note 2 of the
Commentary to § 1B1.3 specifically states that a defendant’s
relevant conduct “does not include the conduct of members of
a conspiracy prior to the defendant joining the conspiracy,
even if the defendant knows of that conduct.”

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hold the defendant responsible for that quantity of drugs

for     which     [he]     is     more        likely   than    not        actually

responsible.”         United States v. Meacham, 27 F.3d 214, 216

(6th Cir. 1994) (emphasis added).                Therefore, the court will

consider only drug quantities that can be directly linked to

Trammell himself during the conspiracy in arriving at a

total drug amount for sentencing purposes.                        See, e.g.,

United States v. Beasley, 2 F.3d 1551, 1561-62) (11th Cir.

1993)   (where        defendant’s      scope     of    involvement        in   drug

conspiracy was unclear, district court erred in holding him

responsible       for     drug    quantity        attributable       to     entire

conspiracy; record must support the specific amount of drugs

attributable to the individual defendant); United States v.

Milledge,       109    F.3d     312    (6th    Cir.    1997)   (vacating        and

remanding defendant’s sentence for drug conspiracy where

district court attributed drug quantity to defendant that

far exceeded his scope                and personal involvement in the

conspiracy based on the available evidence).                    With that in

mind, the court considers three key pieces of evidence.



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                 a. Welch’s testimony at trial

    As noted above, Welch testified that he purchased crack

cocaine from Trammell on two separate occasions: 4.544 grams

on July 20, 1993 (as alleged in Count 18 of the superceding

indictment), and      4.712 grams on September 22, 1993 (as

alleged   in   Count     24   of   the   superceding      indictment).

Although Trammell was not convicted of conducting the July

1993 sale, the court finds Welch’s testimony credible, and

is persuaded by at least a preponderance of the evidence

that Trammell conducted that transaction. See United States

v. Watts, 519 U.S. 148, 156, 117 S.Ct. 633, 637                  (1997)

(sentencing court may consider conduct of which defendant

has been acquitted, so long as that conduct has been proved

by a preponderance of the evidence).32         In addition, the jury



    32.    Because the standard of proof for sentencing
purposes is much lower, and because the evidence against
Trammell was fairly overwhelming, the court feels confident
in reaching this conclusion despite the fact that it makes
this finding based on a review of the cold record, and
without the benefit of having heard the testimony and
evidence at Trammell’s original trial. Pursuant to Fed.R.
Crim.P. 25, the undersigned certifies complete familiarity
with Trammell’s trial record.

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found beyond a reasonable doubt that Trammell conducted the

September 1993 transaction; the court is likewise persuaded.

Therefore, the court finds Trammell accountable for these

9.256 grams of crack cocaine.



          b. Substances seized on January 28, 1994

    The court also acknowledges that ATF Agent Michael Dixon

testified at the resentencing hearing about a search warrant

he executed at Trammell’s residence on January 28, 1994.

The warrant resulted in the confiscation of, among other

things, “one paper with crack cocaine and two plastic bags

containing crack cocaine.”33        However, after examining the

exhibits introduced into evidence at trial and resentencing,

the court is unable to locate any lab results confirming

that these seized substances contained crack cocaine or the

weights of these substances.34


    33.  Resentencing transcript, January 31, 2005, p. 64-5.
See also Govt. Ex. 1, “Confiscated Item/Search Warrant
Inventory.”

    34.    At the resentencing hearing, Dixon himself was
                                            (continued...)

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       “Although sentencing may be based on fair, accurate, and

conservative estimates of the quantity of drugs attributable

to a defendant, sentencing cannot be based on calculations

of drug quantities that are merely speculative.”                      United

State     v.   Zapata   139   F.3d    1355,    1359   (11th    Cir.    1998)

(quoting United States v. Brazel, 102 F.3d 1120, 1159 n. 32

& 33 (11th Cir. 1997)).              Given the absence of any lab

results confirming the nature and weight of the substances

seized from Trammell’s home, as well as the lack of specific

testimony regarding the quantity of drugs seized, the court

is    unable     to determine the quantity of drugs found in

Trammell’s home on January 28, 1994.                   The court cannot

engage in pure speculation as to the quantity of drugs



       34.(...continued)
unable to provide any information as to the weights of the
various substances recovered. He testified on direct, “Yes,
sir.    There were drugs found.   There was cocaine found
during that [search].    I don’t know the exact amounts.”
Resentencing transcript, January 31, 2005, p. 64.

     Likewise, the inventory list introduced into evidence at
the resentencing hearing simply states that “1 paper w/
crack cocaine - scales,” was recovered, along with “2
plastic bags w/ crack cocaine - razor blades.” Govt. Ex. 1.

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seized       that   day,   and   will     therefore      not    include    the

substances seized on January 1994 in its computation of the

drug    quantity      attributable      to    Trammell    for     sentencing

purposes.35



                    c. Stanley Johnson’s testimony

       As noted above, the government’s chief witness at the

resentencing        hearing   was   co-defendant      Johnson.        At   the

hearing,       Johnson     testified         that   his        drug   dealing

relationship with Trammell began in either late 1989 or

early 1990, approximately one year after he got married in

September 1988.36      Johnson testified that he first approached

Trammell about dealing drugs when he encountered financial


       35.The court’s conclusion that it is inappropriate to
speculate as to this drug quantity is bolstered by the fact
that the government has not argued in any of its briefs that
the court should consider the weight of the substances
seized from Trammell’s home on January 28, 1994 in
determining the quantity of drugs attributable to him.

       36.When the government asked Johnson how long after
his marriage he first approached Trammell about the drug
business, Johnson responded, “About in ‘89 or ‘90. Probably
a year after I got married.”      Resentencing transcript,
January 31, 2005, p. 30.

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problems, and that Trammell taught him how to “cook up”

cocaine powder into crack cocaine and how to “break down”

the   crack      into    varying    amounts   to   sell.37    He   further

testified that Trammell supplied him with approximately an

ounce of crack cocaine per week, which Johnson in turn

resold      to   customers,   for    a    period   of   approximately     18

months.38        However, as noted above, Johnson also testified

that his business relationship with Trammell ended after he

and Trammell had a falling out over an incident involving

Trammell’s girlfriend and Johnson’s wife.                 At that time,

Johnson testified, he found a new source to supply him with

crack cocaine.39        Furthermore, as noted above, at no point in

his testimony did Johnson indicate that the arrangement he

had with Trammell for those 18 months was related to the

conspiracy that began in 1992 or that any of the other co-




      37.    Id. at 31.

      38.When asked how long this arrangement continued for,
Johnson responded, “Over a year. About a year and a half,
something like that.” Id. at 34.

      39.    Id. at 38.

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defendants in this case were involved in this particular

arrangement.

    Although Johnson was clear in his testimony that his

relationship with Trammell began in late 1989 or early 1990

and continued for approximately 18 months, he also testified

on direct examination that his relationship ended in 1992.

However,     on    cross-examination,          he    resolved       any    date

discrepancies      and     confirmed    that   he     began    dealing     with

Trammell in 1989 or 1990, and stopped dealing with him in

1991.      When    asked    if   he   was   sure     about    the   date    his

involvement with Trammell ceased, he reiterated that their

business relationship ended some time in 1991.40


    40.       On    cross-examination,         the    following      exchange
occurred:

            “Q: My question was, when did you stop
            dealing with Mr. Trammell as it regards
            narcotics?

            “A: After we had the confrontation about
            his girlfriend telling my wife some stuff.

            “Q: When was that?

            “A: Like in ‘91.
                                                              (continued...)

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    Based    on   Johnson’s     testimony    on   direct    and   cross-

examination, the court concludes that the 18-month period

during which Trammell supplied Johnson with an ounce of

crack cocaine per week ended some time in 1991, prior to the

start of the conspiracy in 1992.              Thus, the quantity of

drugs Trammell supplied to Johnson during this 18-month

period is outside the scope of the conspiracy and is not

attributable to Trammell for resentencing purposes.41


    40.   (...continued)
          “Q: Are you sure about that? Can you tell
          me what time of year it was?

          “A: I’m just — You know, I can’t give you
          an exact date. You know, you’re talking
          about eleven, twelve years ago. I know it
          was like in ‘89 or ‘90. ‘91. Somewhere
          in there.

          “Q: But you can’t pin it down any closer
          than that?

          “A: I’d say it was close to ‘91.”

Id. at 44.

    41.   In its supplemental brief regarding resentencing,
the government argues that the court should include the
“1,872 grams which Stanley Quincey Johnson said he purchased
directly from Trammell on a weekly basis for approximately
                                              (continued...)

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    In sum, based on its limited understanding of the scope

of Trammell’s participation in the conspiracy as well as the

paucity of evidence in the record directly linking Trammell

to specific drug amounts, the court concludes that Trammell

can be held accountable for 9.256 grams of cocaine for

sentencing purposes.         Trammell’s position in the hierarchy

of the conspiracy suggests that he is responsible for a

quantity    of    drugs    greater   than   9.256    grams.    However,

sentencing must be based on “fair, accurate and conservative

estimates    of   the     quantity   of   drugs     attributable   to     a

defendant.”       Rodriguez, 398 F.3d at 1296.            Without more

information, 9.256 grams is the fairest, most accurate, and


    41.   (...continued)
18 months.” Supplement to government’s memorandum (Doc. No.
1005), p. 3. The government admits that “Trammell’s sales
of cocaine to Johnson began well outside of the indictment
period,” but argues that “they continued uninterrupted until
some time after January 1, 1992, and should therefore be
used to calculate his sentence.”    Id. at 4. Because the
court disagrees, and finds that Johnson’s business
relationship with Trammell ended in 1991, it does not accept
the government’s argument.       The court simply cannot
attribute this 1,872 grams of crack to Trammell when it is
clear that he ceased supplying drugs to Johnson well before
the commencement of the conspiracy at issue here.        See
U.S.S.G. § 1B1.3, Commentary, Note 2.

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most    conservative       estimate       of     the   quantity     of    drugs

attributable to Trammell the court can make.



                        B. Firearm Enhancement

       Trammell      objects   to   the        addition   of   a    two-level

enhancement to his base offense level due to possession of

a dangerous weapon.        Section 2D1.1(b)(1) of the Sentencing

Guidelines states that a defendant’s base offense level is

increased by two levels “if a dangerous weapon (including a

firearm)       was   possessed.”      Application         note     3     in   the

Commentary to § 2D1.1 indicates that “[t]he enhancement for

weapon possession reflects the increased danger of violence

when    drug    traffickers    possess         weapons.    The     adjustment

should be applied if the weapon was present, unless it is

clearly improbable that the weapon was connected with the

offense.”

       At Trammell’s original sentencing, the court imposed

this two-level enhancement based on the fact that one of

Trammell’s co-defendants and conspirators, Ossie O. McCauley



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III, possessed and used a firearm in furtherance of the drug

conspiracy       on   May    20,     1993.      Specifically,     testimony

indicated that on that date, McCauley placed a gun to a

confidential informant’s head and threatened to kill him,

after     he    learned     from    another    co-conspirator     that   the

informant       had   been    assisting       the   police   in   making      a

controlled buy of crack cocaine.42               Trammell argues that he

cannot be held responsible for this incident because                         he

himself was not present at the time, and because there was

no testimony at trial specifically linking him to McCauley.43

       The Eleventh Circuit Court of Appeals has held that

sentence       enhancement         for   a    co-conspirator’s    firearms

possession is appropriate if four conditions are proved by

a preponderance of the evidence: “(1) the possessor of the

firearm was a co-conspirator, (2) the possession was in



       42.
         Recommendation of magistrate judge, 01cv658, (Doc.
No. 47) p. 11.    See also testimony of Robert Chambers &
Darryl Armor, resentencing transcript, January 31, 2005, pp.
55 & 60.

       43.     Defendant’s resentencing brief (Doc. No. 996), p.
8.

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furtherance of the conspiracy, (3) the defendant                  was     a

member of the conspiracy at the time of possession, and (4)

the co-conspirator possession was reasonably foreseeable by

the defendant.”     United States v. Gallo, 195 F.3d 1278, 1284

(11th Cir. 1999).

    While the court finds the first two conditions easily

satisfied by a preponderance of the evidence, it is unclear

whether Trammell was a member of the conspiracy on May 20,

1993.   As noted above, Trammell was incarcerated from April

6, 1992 until April 7, 1993.            The first drug transaction

specifically linking Trammell to the conspiracy took place

on July 20, 1993.     Therefore, the court previously concluded

that Trammell joined the conspiracy no later than July 20,

1993.   Because there is nothing in the record to suggest

that Trammell had already joined the conspiracy by May 20,

1993, the court cannot conclude by a preponderance of the

evidence that Trammell was a member of the conspiracy at

that time.     Therefore, he cannot be held responsible for

McCauley’s possession of a firearm on that date.



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     However, the May 20, 1993, incident is not the only

evidence in the record indicating that numerous firearms

were possessed and used in connection with the West Shawmut

drug conspiracy.        For example, co-conspirator Billingsley

testified at trial that, during the summer of 1993 in the

“Hole”     and   the   “Dope    Zone,”        he    saw   Fears      with   a   .38

derringer;       McCauley    with    a    nine      millimeter       handgun    and

pistol-grip       shotgun;     and   Davis         with   a   nine    millimeter

handgun, which he utilized in one incident to shoot at a

purchaser who attempted to take Davis’s drugs without paying

for them.44      Furthermore, law enforcement agent Michael Dixon

testified at trial that McCauley was in possession of an

assault rifle in his bedroom when he was arrested on January

28, 1994, the same day Trammell was arrested.45

     At a minimum, Trammell is subject to the two-level

firearm enhancement as a result of McCauley’s possession of

the firearm at the time of his arrest on January 28, 1994.



     44.    Trial transcript, April 7, 1994, pp. 91-93.

     45.    Trial transcript, March 30, 1994, pp. 38-39.

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At     that   time,     there   is    no     question   that    McCauley    was

Trammell’s co-conspirator. Furthermore, the presence of the

weapon at McCauley’s home is sufficient evidence that his

possession of it was in furtherance of the conspiracy.                      See

United States v.         Hall, 46 F.3d 62, 64 (11th Cir. 1995)

(handgun seized from dresser drawer of bedroom in house

where      drug    activity      took        place   justified     two-level

enhancement for possession of dangerous weapon).                     This is

especially true given that McCauley was a level-two crack

dealer     who    was   known   for     brandishing      weapons     in    drug

distribution zones.          Thus, it is not “clearly improbable”

that McCauley’s possession of the firearm in his home was

connected to his drug trafficking activity.                    See Commentary

to § 2D1.1, Application Note 3 (“The adjustment should be

applied if the weapon was present, unless it is clearly

improbable that the weapon was connected with the offense”).

       Furthermore, there is no question that Trammell was a

member of the conspiracy at the time the weapon was found in

McCauley’s home.          Finally, the Eleventh Circuit has held



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that “an act is reasonably foreseeable if it is ‘a necessary

or natural consequence of the unlawful agreement.’” United

States v. Cover, 199 F.3d 1270, 1275 (11th Cir. 2000).                   Co-

conspirator possession of firearms is a natural consequence

of     narcotics     conspiracies      because     “[i]t    is   uniformly

recognized that weapons are often as much ‘tools of the

trade’       as    the     most    commonly      recognized      narcotics

paraphernalia.”          United States v. Terzado-Madruga, 897 F.2d

1099, 1119 (11th Cir. 1990).           Given the ample testimony that

weapons were used in furtherance of this conspiracy on a

regular basis, the court has no difficulty concluding by a

preponderance of the evidence that the possession of a

firearm by McCauley was reasonably foreseeable to Trammell.46




       46.Because the court finds Trammell eligible for the
firearm enhancement due to McCauley’s possession of a
firearm at the time of his arrest, it need not determine
whether he is also eligible for the enhancement as a result
of his own possession of firearms. The court also need not
determine whether Billingsley’s testimony that he saw
several members of the conspiracy carrying firearms during
the summer of 1993 is sufficient to trigger the application
of the firearm enhancement to Trammell’s sentence.

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                C. Supervisory Role Enhancement

    Trammell also objects to the government’s pursuit of an

additional enhancement to his base offense level for his

role as a “manager” or “supervisor” in the drug conspiracy.

According to U.S.S.G. § 3B1.1(b), a defendant is subject to

a three-level increase if he “was a manager or supervisor

(but not an organizer or leader) and the criminal activity

involved    five   or   more    participants      or    was   otherwise

extensive.”    That the conspiracy at issue involved more than

five participants is undisputed. However, Trammell contends

that there is no evidence to suggest that he played a

leadership role in the conspiracy.47          The government argues

that Trammell assumed a supervisory role in the conspiracy

because he “sold cocaine base to persons brought to his home

by street runners, and to those persons whom he directed to

come to his home without an escort.”48




    47.    Defendant’s resentencing brief (Doc. No. 996) p. 8.

    48 .  Supplement to government’s sentencing memorandum
(Doc. No. 1005), p. 6.

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    In United States v. Matthews, 168 F.3d 1234 (11th Cir.

1999),   the   Eleventh    Circuit      held    that   “the   management

enhancement    [under     §   3B1.1(b)]        is   appropriate   for     a

defendant who arranges drug transactions, negotiates sales

with others, and hires others to work for the conspiracy.”

Id. at 1249-50 (citing United States v. Stanley, 24 F.3d

1314, 1323 (11th Cir. 1994); United States v. Clavis, 956

F.2d 1079, 1096 (11th Cir. 1992)).                  In justifying this

enhancement for the defendant in that case, the Matthews

court relied upon the following evidence:

          “Matthews does not dispute that the
          evidence at trial established that he
          fronted or directly sold cocaine to
          numerous ‘runners’ who would then sell the
          drug to buyers along Ebenezer road, giving
          Matthews the resulting profit....       In
          exchange for this service the runners
          would generally be entitled to a small
          amount of cocaine for their own personal
          use.     This undisputed activity was
          sufficient to justify the sentencing
          court’s enhancement under § 3B1.1(b).”

Id. at 1250.

    In Trammell’s case, there is ample evidence in the

record that he employed the services of runners on at least

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a few occasions.        Although he refused to pay Lancaster a

commission for the July 20, 1993 sale, Welch’s testimony

that Trammell told him, “when I come out there [to purchase

drugs], [I should] come by myself because Lancaster been

wanting too much [cocaine as payment for his services as a

runner],”      indicates    that   Trammell    had    used    Lancaster’s

services as a runner in the past.49             Furthermore, Johnson

testified at the resentencing hearing that “I would see one

or two [runners] come to [Trammell] down by the house ...

come down there and get some [crack] and run up back up the

road    with   it.”50     Finally,   Johnson   also    testified     that

Trammell was a dealer at the same level as himself, JaJa

Davis, and Timothy Walker.51

       The court finds this testimony credible.              Although, as

noted earlier, it is difficult to determine the precise

scope of Trammell’s involvement in the conspiracy, it is




       49.   Trial transcript, April 5, 1994, p. 23.

       50.   Resentencing transcript, January 31, 2005, p. 39.

       51.   Id. at 35.

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readily apparent to the court that Trammell was at least a

level-two dealer in the conspiracy who occasionally employed

the services of runners.         Pursuant to Matthews, the court

thus concludes that Trammell is subject to the three-level

enhancement for his supervisory or managerial role pursuant

to U.S.S.G. § 3B1.1(b).



   D. Imposition of Consecutive or Concurrent Sentences

      In its original resentencing brief, the government

argued   that, pursuant to U.S.S.G. § 5G1.2(d), the court

should impose consecutive sentences on the various counts of

conviction.      However,     this    argument    was   based    on   the

government’s      own    calculation      of     the    drug    quantity

attributable to Trammell, which the court has now rejected.

Thus, the government’s argument is moot.



                  i. The government’s argument

    The government contended that Trammell should be held

accountable for at least 1.5 kilograms of cocaine, resulting



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in a base offense level of 38, and an adjusted base offense

level of 43.52      Combined with a criminal history category of

III,    the government concluded that Trammell’s guideline

range was life imprisonment.            However, it conceded that the

statutory maximum as to Count I, a Class B felony, is 5 to

40 years pursuant to 21 U.S.C.A. § 841(b)(1)(B), and that

the statutory maximum as to Count 24, a Class C felony, is

not    more       than    20   years,     pursuant   to   21   U.S.C.A.

§ 841(b)(1)(C).           Because Trammell’s guideline sentencing

range as proposed by the government exceeded the statutory

maximum      on    both    counts,   the    government    argued    that

§ 5G1.2(d) mandated the imposition of consecutive sentences.

Section 5G1.2(d) reads,

             “If the sentence imposed on the count
             carrying the highest statutory maximum is
             less than the total punishment, then the
             sentence imposed on one or more of the
             other counts shall run consecutively, but
             only to the extent necessary to produce a
             combined sentence equal to the total


       52.The government added two levels for possession of
a firearm, pursuant to § 2D1.1(b)(1), as well as the three-
level enhancement for a managerial or supervisory role in
the offense pursuant to § 3B1.1(b).

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            punishment.    In all other respects,
            sentences   on  all   counts  shall   run
            concurrently,   except   to  the   extent
            otherwise required by law.”



                      ii. The court’s calculation

      Trammell’s drug conspiracy and distribution offenses

(Counts     1   and   24)    are   grouped        together,       pursuant   to

§    3D1.2(d)     (“Group    I”).53        In    addition,    his     firearms

convictions (Counts 2-4) are also grouped together for the

purpose of determining a base offense level (“Group II”).

      The court has now determined that 9.256 grams of crack

cocaine     are    attributable       to        Trammell    for    sentencing

purposes.       This results in a base offense                level of 26,

pursuant to § 2D1.1(c)(7).             In addition, the court found

above    that     Trammell   is    subject       to   a   two-level    firearm

enhancement, pursuant to § 2D1.1(b)(1), and a three-level

enhancement for his supervisory or managerial role in the

offense, pursuant to § 3B1.1(b), for a total base offense

level of 31 for Group I.


      53.   See supra note 12.

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    Trammell’s      base    offense      level   for   Group    II,       as

determined at his original sentencing, is 20, and remains

undisturbed by this court.54        An application of the multiple

count adjustment rules to Groups I and II of Trammell’s

convictions results in a combined adjusted offense level of

31, pursuant to § 3D1.4.       The guideline range for an offense

level of 31 and a criminal history category of III is 135 to

168 months,     or 11 years and three months to 14 years.

Because this guideline range            is less than the statutory

maximum on both Counts 1 and 24, § 5G1.2(d) provides that

the sentences on all counts shall run concurrently.



                           III. Conclusion

    For the reasons above, the court concludes, for the

purposes   of   calculating      Trammell’s      sentence    under    the

Sentencing Guidelines, that:

    (1) The amount of drugs attributable to Trammell for

sentencing purposes is 9.256 grams of cocaine base;


    54.   Memorandum of Probation Officer on Resentencing
(Doc. No. 975) p. 5.

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    (2) Trammell is subject to a two-level enhancement to

his base offense level for firearm possession, pursuant to

§ 2D1.1(b)(1);

    (3) Trammell is also subject to a three-level increase

in his base offense level for his supervisory or managerial

role, pursuant to § 3B1.1(b); and

    (4) Pursuant to § 5G1.2(d), the sentences on all counts

shall run concurrently.

    Finally, while the court has indicated that Trammell’s

Sentencing   Guidelines      range      is   135    to    168    months,   the

Guidelines are merely advisory pursuant to United States v.

Booker, 543 U.S. ___, 125 S. Ct. 738 (2004).                Therefore, the

parties should be prepared to address whether the court

should impose a sentence greater than the Guidelines range

because   Trammell’s     supervisory         role    in    the    conspiracy

suggests that he is responsible for a quantity of drugs

greater than 9.256 grams of crack cocaine.




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    It   is   therefore     ORDERED     that   defendant     James    Lee

Trammell, Jr. shall be resentenced in accordance with the

findings set forth in this order.

    DONE, this the 26th day of August, 2005.

                                 /s/ Myron H. Thompson
                             UNITED STATES DISTRICT JUDGE
